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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

 Robert Lee Randolph, Jr., #335868, )           C/A No.: 5:18-689-TMC-SVH
                                    )
                 Plaintiff,         )
                                    )
      vs.                           )                REPORT AND
                                    )             RECOMMENDATION
 Lee Harter and Cathay Hughes,      )
                                    )
                 Defendants.        )
                                    )

      Robert Lee Randolph, Jr. (“Plaintiff”), proceeding pro se and in forma

pauperis, filed this complaint against newspaper editor Lee Harter and

publisher Cathy Hughes. Pursuant to the provisions of 28 U.S.C. §

636(b)(1)(B) and Local Civ. Rule 73.02(B)(2)(e) (D.S.C.), the undersigned is

authorized to review such complaints for relief and submit findings and

recommendations to the district judge. For the reasons that follow, the

undersigned recommends that the district judge dismiss the complaint

without prejudice and without issuance and service of process.

I.    Factual and Procedural Background

      Plaintiff sues the editor and publisher of an unidentified Orangeburg

newspaper and claims defendants published “lies” on April 10 and 13, 2016,

that slandered his name, defamed his character, and put his life in danger.

[ECF No. 1 at 5]. Plaintiff seeks monetary damages. Id. at 6.
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II.   Discussion

      A.    Standard of Review

      Plaintiff filed this complaint pursuant to 28 U.S.C. § 1915, which

permits an indigent litigant to commence an action in federal court without

prepaying the administrative costs of proceeding with the lawsuit. To protect

against possible abuses of this privilege, the statute allows a district court to

dismiss a case upon a finding that the action fails to state a claim on which

relief may be granted or is frivolous or malicious. 28 U.S.C. § 1915(e)(2)(B)(i),

(ii). A finding of frivolity can be made where the complaint lacks an arguable

basis either in law or in fact. Denton v. Hernandez, 504 U.S. 25, 31 (1992). A

claim based on a meritless legal theory may be dismissed sua sponte under

28 U.S.C. § 1915(e)(2)(B). See Neitzke v. Williams, 490 U.S. 319, 327 (1989);

Allison v. Kyle, 66 F.3d 71, 73 (5th Cir. 1995).

      Pro se complaints are held to a less-stringent standard than those

drafted by attorneys. Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978). A

federal district court is charged with liberally construing a complaint filed by

a pro se litigant to allow the development of a potentially meritorious case.

Erickson v. Pardus, 551 U.S. 89, 94 (2007). In evaluating a pro se complaint,

the plaintiff’s allegations are assumed to be true. Merriweather v. Reynolds,

586 F. Supp. 2d 548, 554 (D.S.C. 2008). The mandated liberal construction

afforded to pro se pleadings means that if the court can reasonably read the


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pleadings to state a valid claim on which the plaintiff could prevail, it should

do so. Nevertheless, the requirement of liberal construction does not mean

that the court can ignore a clear failure in the pleading to allege facts that set

forth a claim currently cognizable in a federal district court. Weller v. Dep’t of

Soc. Servs., 901 F.2d 387, 390–91 (4th Cir. 1990).

      B.    Analysis

      Federal courts are courts of limited jurisdiction, “constrained to

exercise only the authority conferred by Article III of the Constitution and

affirmatively granted by federal statute.” In re Bulldog Trucking, Inc., 147

F.3d 347, 352 (4th Cir. 1998). Accordingly, a federal court is required, sua

sponte, to determine if a valid basis for its jurisdiction exists “and to dismiss

the action if no such ground appears.” Id. at 352; see also Fed. R. Civ. P.

12(h)(3) (“If the court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action.”). Although the absence of

subject matter jurisdiction may be raised at any time during the case,

determining jurisdiction at the outset of the litigation is the most efficient

procedure. Lovern v. Edwards, 190 F.3d 648, 654 (4th Cir. 1999).

      Plaintiff alleges the court has federal question jurisdiction over his

claims pursuant to 42 U.S.C. § 1983. “[A] claim of federal question

jurisdiction is to be resolved on the basis of the allegations of the complaint

itself.” Burgess v. Charlottesville Sav. and Loan Ass’n, 477 F.2d 40, 43 (4th


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Cir. 1973). Therefore, a complaint must “contain allegations ‘affirmatively

and distinctly’ establishing federal grounds ‘not in mere form, but in

substance’ and ‘not in mere assertion, but in essence and effect.’” Id. (citing

Cuyahoga Co. v. Northern Ohio Co., 252 U.S. 388, 397 (1920)). “[T]he mere

assertion in a pleading that the case is one involving the construction or

application of the federal laws does not authorize the District Court to

entertain the suit.” Malone v. Gardner, 62 F.2d 15, 18 (4th Cir. 1932).

      Plaintiff’s defamation claim against defendants fails to establish any

viable ground for federal subject matter jurisdiction. See Vander Linden v.

Wilbanks, 128 F. Supp. 2d 900, 904 (D.S.C. 2000) (explaining that the Fourth

Circuit has found that libel and slander claims are state law claims and,

absent diversity jurisdiction, should be heard by state courts); Box Tree S.,

Ltd. v. Bitterman, 873 F. Supp. 833, 843–46 (S.D.N.Y. 1995) (holding that a

state law defamation claim alleging defendants made false statements did

not present a federal question because plaintiffs did not assert any federal

right). Accordingly, Plaintiff’s complaint is subject to summary dismissal.1




1 Plaintiff’s complaint also fails to demonstrate sufficient facts to satisfy the
requirements of 28 U.S.C. § 1332 for diversity jurisdiction, as he indicates in
his complaint that the parties are all citizens of South Carolina. [ECF No. 1
at 2–3].

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III.   Conclusion and Recommendation

       For the foregoing reasons, the undersigned recommends that the court

dismiss the complaint without prejudice and without issuance and service of

process.

       IT IS SO RECOMMENDED.



March 20, 2018                              Shiva V. Hodges
Columbia, South Carolina                    United States Magistrate Judge

  The parties are directed to note the important information in the attached
     “Notice of Right to File Objections to Report and Recommendation.”




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      Notice of Right to File Objections to Report and Recommendation

      The parties are advised that they may file specific written objections to
this Report and Recommendation with the District Judge. Objections must
specifically identify the portions of the Report and Recommendation to which
objections are made and the basis for such objections. “[I]n the absence of a
timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the
record in order to accept the recommendation.’” Diamond v. Colonial Life &
Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

      Specific written objections must be filed within fourteen (14) days of the
date of service of this Report and Recommendation. 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to
Federal Rule of Civil Procedure 5 may be accomplished by mailing objections
to:

                           Robin L. Blume, Clerk
                         United States District Court
                             901 Richland Street
                       Columbia, South Carolina 29201

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment
of the District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1);
Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir.
1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




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